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                                                    Information Systems, Inc., and Toshiba America
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                                                                           UNITED STATES DISTRICT COURT
                    Washington, DC 20005
White & Case LLP




                                               13                         NORTHERN DISTRICT OF CALIFORNIA
                                                                             (SAN FRANCISCO DIVISION)
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                                                    IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
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                                                    ANTITRUST LITIGATION                                     MDL No. 1917
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                                                    This Document Relates to
                                               19   Case No. 13-cv-1173-SC (N.D. Cal.)
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                                                    SHARP ELECTRONICS CORP., et al.,                 THE TOSHIBA DEFENDANTS’
                                               21                                                    MOTION FOR LEAVE TO FILE
                                               22                        Plaintiffs,                 SURREPLY IN OPPOSITION TO
                                                                                                     SHARP’S MOTION FOR LEAVE
                                               23        v.                                          TO AMEND
                                               24
                                                    HITACHI, LTD., et al.,
                                               25
                                               26                        Defendants.

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                                                               THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO FILE SURREPLY
                                                                   IN OPPOSITION TO SHARP’S MOTION FOR LEAVE TO AMEND
                                                                                     Case No. 07-5944 SC
                                                                                       MDL No. 1917
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                                                1                           NOTICE OF MOTION AND MOTION
                                                2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                3         PLEASE TAKE NOTICE that Defendants Toshiba Corporation, Toshiba America,
                                                4   Inc., Toshiba America Information Systems, Inc., and Toshiba America Electronic
                                                5   Components, Inc. (the “Toshiba Defendants”) hereby move the Court for an order granting
                                                6   the Toshiba Defendants leave to file their Surreply in Opposition to Sharp’s Motion for
                                                7   Leave to Amend.
                                                8         This motion is based upon this Notice of Motion and Motion, the Memorandum of
                                                9   Points and Authorities in support thereof, and such other materials and information that the
                                               10   Court may properly consider.
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                                                               THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO FILE SURREPLY
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                                                                                      Case No. 07-5944 SC
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                                                1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                2          The Toshiba Defendants, by and through their undersigned counsel, hereby
                                                3   respectfully submit this Memorandum in Support of their Motion for Leave to File Surreply
                                                4   in Opposition to Sharp’s Motion for Leave to Amend (“Motion for Leave to File Surreply”).
                                                5   As reflected in the Toshiba Defendants’ proposed surreply — attached hereto as Exhibit A
                                                6   — the Toshiba Defendants seek leave as required under Civil Local Rule 7-3(d) to file a
                                                7   surreply to respond to arguments and authorities that Sharp raised for the first time in its
                                                8   reply in support of its motion for leave to amend.
                                                9          The Toshiba Defendants recognize — and agree — that surreplies should be rare and
                                               10   limited to the extent warranted. Here, the Toshiba Defendants respectfully submit that a
                                               11   short surreply is justified and necessary to assist the Court in resolving Sharp’s motion to
                                               12   amend, by addressing and correcting arguments and assertions that Sharp makes for the first
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                                               13   time in its reply brief. This Court has granted motions for leave to file surreplies in similar
                                               14   situations.    See, e.g., Toomey v. Nextel Commc’ns, Inc., C-03-2887 MMC, 2004 WL
                                               15   5512967, at *1 (N.D. Cal. Sept. 23, 2004) (granting motion for leave to file surreply to
                                               16   address arguments “raised for the first time in Nextel’s reply, and purported misstatements
                                               17   of fact in Nextel’s reply”); Sharper Image Corp. v. Consumers Union of U.S., Inc., 03-4094
                                               18   MMC, 2004 WL 2713064, at *1 n.1 (N.D. Cal. Feb. 23, 2004) (granting motion for leave to
                                               19   file surreply and considering to extent surreply “responds to arguments raised for the first
                                               20   time” in reply).     Specifically, the Toshiba Defendants seek leave to respond to the
                                               21   arguments that Sharp raised for the first in its reply brief regarding: (1) the Toshiba
                                               22   Defendants’ alleged failure to raise the Court’s January 28, 2013 Order Adopting Special
                                               23   Master’s Report and Recommendation Regarding Toshiba Defendants’ Motion To Compel
                                               24   Arbitration, an order that dismissed certain of Costco’s claims against the Toshiba
                                               25   Defendants; (2) the guidance provided by the International Contract Manual in interpreting
                                               26   the BTA; and (3) the precedential value of Fogade v. ENB Revocable Trust, 263 F.3d 1274
                                               27   (11th Cir. 2001).
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                                                                  THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO FILE SURREPLY
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                                                1         Accordingly, good cause exists for permitting the surreply because it is limited to
                                                2   responding to arguments and authorities that Sharp had not previously made or referenced in
                                                3   the briefing regarding its motion for leave to amend, or at any point in the extended briefing
                                                4   regarding the Toshiba Defendants’ motion to dismiss Sharp’s complaint.
                                                5         For these reasons, this Court should grant the Toshiba Defendants’ Motion for Leave
                                                6   to File Surreply.
                                                7                                                     Respectfully submitted,
                                                8   Dated: April 30, 2014
                                                9
                                                                                                 By: /s/ Lucius B. Lau
                                               10
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                                                                                                      Corporation, Toshiba America, Inc.,
                                               19                                                     Toshiba America Information Systems,
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                                                                                                      Components, Inc.
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                                                                                         MDL No. 1917
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                                                      Case 4:07-cv-05944-JST Document 2553 Filed 04/30/14 Page 5 of 5




                                                1                             CERTIFICATE OF SERVICE
                                                2
                                                          On April 30, 2014, I caused a copy of “THE TOSHIBA DEFENDANTS’ MOTION
                                                3
                                                    FOR LEAVE TO FILE SURREPLY IN OPPOSITION TO SHARP’S MOTION FOR
                                                4
                                                    LEAVE TO AMEND” to be electronically filed via the Court’s Electronic Case Filing
                                                5
                                                    System, which constitutes service in this action pursuant to the Court’s order of
                                                6
                                                    September 29, 2008.
                                                7
                                                8
                                                                                               /s/ Lucius B. Lau
                                                9                                              Lucius B. Lau
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